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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


PAULA GABRIEL,                              )       Civil Case No. 2:21-cv-687
                                            )
                Plaintiff,                  )
                                            )       HONORABLE PATRICIA L. DODGE
       v.                                   )
                                            )
XYLEM, INC., XYLEM WATER                    )
SOLUTIONS ZELIENOPLE, LLC                   )
MICHEAL CRAIG and SEAN                      )
PETRAITIS,                                  )
                                            )
                Defendants.                 )

               NOTICE OF VOLUNTARY DISMISSAL OF CLAIMS AGAINST
                DEFENDANTS MICHAEL CRAIG AND SEAN PETRAITIS

       COMES NOW, the Plaintiff, PAULA GABRIEL, by and through her attorneys, LAW

OFFICES OF JOEL SANSONE, JOEL S. SANSONE, ESQUIRE, MASSIMO A. TERZIGNI,

ESQUIRE, and ELIZABETH A. TUTTLE, ESQUIRE, and hereby files this Notice of Voluntary

Dismissal of Claims Against Defendants Michael Craig and Sean Petraitis, as follows:

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff hereby voluntarily

dismisses her claims against Defendants Micheal Craig and Sean Petraitis, only.
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                                   Respectfully submitted,

                                   LAW OFFICES OF JOEL SANSONE

                                   s/ Joel S. Sansone
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Dated: February 25, 2022
